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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


                                              )
JANE GRANVILLE, et al.,                       )
                                              )
               Plaintiffs,                    )
                                              )
               v.                             )      Civil Action No. 1:16-cv-1894 (JDB)
                                              )
REPUBLIC OF SUDAN,                            )
                                              )
               Defendants.                    )
                                              )


                                   JOINT STATUS REPORT

       Plaintiffs Jane Granville and Kathleen McCabe, individually and as the representatives of

the Estate of John Granville and Defendant the Republic of the Sudan respectfully submit this

Status Report in response to the Court’s Minute Order of January 30, 2018. As of March 30,

2018, the parties have agreed in principle to arbitrate this action and continue to negotiate the

terms of the arbitration agreement. The parties will continue to apprise this Court of the status of

the negotiations.

March 30, 2018                                     Respectfully submitted,


/s/ Claire A. DeLelle                              /s/ Michelle L. Merola
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